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                          UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF MISSISSIPPI

IN RE: CHIQUITA D. MOSLEY                                             CHAPTER 7

DEBTOR                                                CASE NO. 13-10774 JDW
____________________________________________________________________________

                     MOTION TO VACATE RE: ORDER FOR RELIEF
                      FROM AUTOMATIC STAY [DOCKET NO. 52]

       COMES NOW, Chiquita D. Mosley, by and through her attorney and files this her Motion

to Vacate Re: Order for Relief from Automatic Stay [docket no. 52], and in support thereof would

state as follows:

       1.      On August 27, 2013, this Court entered its Order for Relief from Automatic Stay

regarding the Debtor’s 2007 Dodge Durango.

       2.      Debtor had every intention of bringing her account current with the creditor prior to

the hearing on the motion. However, Debtor was unable to pay all of what was past due. Debtor

is now requesting that her Chapter 7 Bankruptcy be converted to a Chapter 13 Bankruptcy in order

to allow her to pay for her vehicle over the life of her bankruptcy plan. This is the only vehicle the

Debtor has for transportation to work and for transporting her children. She also is fully employed

and will be able to make the monthly bankruptcy payment to the Court.

       3.      The Debtor requests that this Court vacate the Order entered on August 27, 2013 to

allow her case to be converted to a Chapter 13 and a plan to be filed with the Court.

       WHEREFORE, PREMISES CONSIDERED, Debtor prays that upon notice and hearing that

this Court will enter its order sustaining the Motion to Vacate and for such other relief
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as the Debtor may be entitled.

                                              RESPECTFULLY SUBMITTED,



                                              _/s/Karen B. Schneller__________________
                                              KAREN B. SCHNELLER, MSB # 6558
                                              ATTORNEY AT LAW
                                              POST OFFICE BOX 417
                                              HOLLY SPRINGS, MISSISSIPPI 38635
                                              (601) 252-3224




                                 CERTIFICATE OF SERVICE


        I, Karen B. Schneller, Attorney for Debtor, do hereby certify that I have this day mailed,
via electronic delivery or postage prepaid, a true and correct copy of the above and foregoing
Motion To Vacate:

Charles H. Keeton, Esq.
115 Builders Square Drive
Brandon, MS 39047

Stephen Livingston, Esq.
Chapter 7 Trustee
P. O. Box 729
New Albany, MS 38652

U. S. Trustee
501 East Court Street, Suite 6-430
Jackson, Mississippi 39201

       This the 9th day of September, 2013.



                                                     ___/s/Karen B. Schneller________
                                                      KAREN B. SCHNELLER
